Case 1:14-cv-01485-GAM Document 467 Filed 09/24/21 Page 1 of 1 PageID #: 10978




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 GIGI JORDAN,

 Plaintiff-Counterclaim-Defendant,
                                                  Case No. 14-cv-01485-GAM
 -against-

 RAYMOND A. MIRRA, JR.,

 Defendant/Counterclaim-Plaintiff.



                  PLAINTIFF’S MOTION TO EXCLUDE OPINIONS OF
                    PROPOSED EXPERT YVETTE AUSTIN SMITH

       Plaintiff Gigi Jordan hereby moves to exclude the opinions of Defendant’s proposed expert

Yvette Austin Smith. The reasons warranting exclusion are provided in the opening brief filed

contemporaneously with this motion.


Dated: September 24, 2021                      /s/ Ethan H. Townsend
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